Case 2:24-cv-01099-MCS-PVC Document 17 Filed 05/31/24 Page 1 of 4 Page ID #:79



   1
   2
   3
   4

   5                                                                               JS-6

   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                WESTERN DIVISION
  11
       BMW OF NORTH AMERICA, LLC, a               Case No.: 2:24-cv-01099-MCS-PVC
  12   Delaware limited liability company; and
       BAYERISCHE MOTOREN WERKE                   PERMANENT INJUNCTION
  13   AG, a German corporation,                  AGAINST DEFENDANT JEFFREY
  14
                                                  STATES AND DISMISSAL OF
                   Plaintiffs,                    ENTIRE ACTION, WITH
  15
                                                  PREJUDICE (ECF No. 16)
                   v.
  16   JEFFREY STATES, an individual; and
  17
       DOES 1-10, inclusive,

  18
                   Defendants.

  19
  20
  21
  22
             The Court, pursuant to the Stipulation for Entry of a Permanent Injunction
  23
       against Defendant Jeffrey States and Dismissal of Entire Action, with Prejudice,
  24
       filed by Plaintiffs BMW of North America, LLC and Bayerische Motoren Werke
  25
       AG (“Plaintiffs”) and Defendant Jeffrey States (“Defendant”), hereby ORDERS,
  26
       ADJUDICATES, and DECREES that a permanent injunction shall be and hereby
  27
       is entered against Defendant in the above-referenced matter as follows:
  28

                                               -1-
                  PERMANENT INJUNCTION AND DISMISSAL WITH PREJUDICE
Case 2:24-cv-01099-MCS-PVC Document 17 Filed 05/31/24 Page 2 of 4 Page ID #:80



   1         1.     PERMANENT INJUNCTION. Defendant is hereby restrained and
   2   enjoined, pursuant to 15 United States Code (“U.S.C.”) § 1116(a), from engaging
   3   in, directly or indirectly, or authorizing or assisting any third party to engage in, any
   4   of the following activities in the United States and throughout the world:
   5                i.     unlawfully copying, manufacturing, importing, exporting,
   6   purchasing, marketing, advertising for sale, offering for sale, selling, transporting,
   7   distributing or otherwise dealing in any product or service that unlawfully uses, or
   8   otherwise makes any unlawful, unauthorized use of, any of BMW’s trademarks,
   9   including but not limited to the BMW® (U.S.P.T.O. Reg. Nos. 0,611,710;
  10   0,613,465; 1,450,212; 5,333,863; 5,333,865; 5,333,900), and/or BMW M®
  11   (U.S.P.T.O. Reg. No. 4,541,350; 3,767,662; 3,767,663; 5,522,663) marks
  12   (collectively “BMW Trademarks”), and/or any intellectual property that is
  13   unlawfully confusingly or substantially similar to, or that constitutes an unlawful
  14   colorable imitation of, any BMW Trademarks, whether such use is as, on, in or in
  15   connection with any trademark, service mark, trade name, logo, design, Internet
  16   use, website, domain name, metatags, advertising, promotions, solicitations,
  17   commercial exploitation, television, web-based or any other program, or any
  18   product or service, or otherwise;
  19                ii.    knowingly advertising or displaying images and/or photographs
  20   of infringing or non-genuine BMW products using BMW Trademarks;
  21                iii.   knowingly using BMW Trademarks, including but not limited
  22   to the BMW® and/or BMW M® trademarks in advertising to suggest that non-
  23   genuine BMW products being advertised are sponsored by, endorsed by, or are
  24   otherwise affiliated with BMW and/or advertising non-genuine BMW automotive
  25   parts using descriptions that imply that the products are genuine BMW products.
  26   Defendant may, however, use “BMW” or other BMW wordmarks to advertise non-
  27   BMW products for sale with fair use descriptions such as ‘for BMW automobiles’
  28   or ‘fits BMW model _______,’ or similar language, provided that “BMW” or any
                                                  -2-
                  PERMANENT INJUNCTION AND DISMISSAL WITH PREJUDICE
Case 2:24-cv-01099-MCS-PVC Document 17 Filed 05/31/24 Page 3 of 4 Page ID #:81



   1   other BMW wordmarks that are used are in the identical font, format, size, and color
   2   as, and no more prominently displayed than the surrounding text. In no event may
   3   any BMW, M and/or MINI logo, design mark, or other graphical BMW Trademarks
   4   be used by Defendant under this exception for;
   5                iv.    performing, or allowing others employed by Defendant or under
   6   Defendant’s control to perform, any unlawful act or thing which is likely to injure
   7   Plaintiffs, any BMW Trademarks, and/or BMW’s business reputation or goodwill.
   8                v.     knowingly engaging in any acts of trademark infringement,
   9   false designation of origin, dilution, unfair business practices under California law,
  10   or other act which would tend damage or injure Plaintiffs; and/or
  11                vi.    unlawfully using any Internet domain name, URL, or online
  12   seller name/ID that includes any BMW Trademarks.
  13         2.     Defendant is ordered to deliver to Plaintiffs immediately for
  14   destruction all infringing or non-genuine products bearing BMW Trademarks to the
  15   extent that any of these items are in Defendant’s possession, custody, or control.
  16         3.     This Permanent Injunction shall be deemed to have been served upon
  17   Defendant at the time of its execution by the Court.
  18         4.     The Court finds there is no just reason for delay in entering this
  19   Permanent Injunction against Defendant, and, pursuant to Rule 54(a) of the Federal
  20   Rules of Civil Procedure, the Court directs immediate entry of this Permanent
  21   Injunction against Defendant.
  22         5.     CONTINUING JURISDICTION BY THE COURT. The Court
  23   shall retain jurisdiction over this matter to enforce any violation of the terms of this
  24   Permanent Injunction against Defendant.
  25         6.     NO APPEALS. No appeals shall be taken from this Permanent
  26   Injunction against Defendant, and Plaintiffs and Defendant waive all rights to
  27   appeal.
  28

                                                 -3-
                  PERMANENT INJUNCTION AND DISMISSAL WITH PREJUDICE
Case 2:24-cv-01099-MCS-PVC Document 17 Filed 05/31/24 Page 4 of 4 Page ID #:82



   1         7.     NO FEES AND COSTS. Plaintiffs and Defendant shall bear their
   2   own attorneys’ fees and costs incurred in this matter.
   3         8.     DISMISSAL. Upon entry of this Permanent Injunction against
   4   Defendant, the case shall be dismissed in its entirety, with prejudice, pursuant to
   5   Fed. R. Civ. P. 41(a)(2).
   6
   7         IT IS SO ORDERED, ADJUDICATED, and DECREED this 31st day of
   8   May, 2024.
   9
  10                                          _________________________________
  11                                          Mark C. Scarsi
                                              United States District Judge
  12
  13
  14
  15
  16

  17
  18
  19
  20
  21
  22

  23
  24
  25
  26
  27
  28

                                                -4-
                  PERMANENT INJUNCTION AND DISMISSAL WITH PREJUDICE
